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                              UN ITED STATES DISTRICT C OU RT
                              SO UTH ERN DISTR ICT O F FLO R IDA

                               CaseNo.23-60173-CR-W lLLlAM S(s)
                                         18U.S.C.j1349                     FILED BY                   D.C.
                                         18U.S.C.j1343
                                         18U.S.C.j371                             JUN 27222j
                                         15U.S.C.j645(a)                          ANGELAE.NOBLE
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                                         18U.S.C.j981(a)(1)(C)                  s.().o:Ftk.-I
                                                                                            rcLAun.

    UM TED STATES O F AM ER IC A

    VS.


    CA RO LYN DEN ISE W A DE and
    TM CY D.W A DE,

                                D efendants.


                                  SUPERSED IN G INDICTG NT

           The Grand Jury chargesthat:

                                   G ENER AL ALLEG ATIO NS

           AtalItim esrelevantto this Superseding lndictm ent:

                                 The Sm allB usinessA dm inistration

                  The United States SmallBusinessAdministration (;$SBA'')was an executive
    branch agency ofthe U nited States governm entthatprovided supportto entrepreneursand sm all

    businesses. The m ission ofthe SBA w as to maintain and strengthen the nation's economy by

    enabling the establishm ent and viability of sm allbusinesses and by assisting in the econom ic

    recovery ofcom m unitiesafterdisasters.

                  A spartof this effort,the SBA enabled and provided loans through banks,credit

    unions,and otherlenders. These loanshad governm ent-backed guarantees.
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                                  The Paycheck Protection Program

                  TheCoronavirusAid,Relief,andEconomicSecurityCtCARES''
                                                                      IActwasafederal
    law enacted in or around M arch 2020,designed to provide em ergency financialassistance to the

    m illions ofA m ericans w ho w ere suffering from the econom ic effects caused by the CO VlD-19

    pandem ic. One source Of relief that the CA RES A ct provided w as the Paycheck Protection

    Program ((PPP''),which authorized forgivableloansto smallbusinessesforjob retention and
    certain otherexpenses.

           4.     The SBA prom ulgated regulationsconcerning eligibility fora PPP loan. To obtain

    a PPP loan,a qualifying businessw asrequired to subm itaPPP loan application,which w assigned

    by an authorized representative ofthe business. The PPP loan application required the business

    (through its authorized representative)to acknowledge the program rules and make certain
    affirm ative certificationsto be eligible to obtain the PPP loan,including thatthe businessw as in

    operation on February l5,2020,and either had em ployeesforw hom itpaid salaries and payroll

    taxesorpaid independentcontractors.Paym entsto independentcontractorsare typically reported

    tothelntemalRevenue Service((tlRS'')onaçsForm 1099-MlSC.''lnthePPP loanapplication
    (SBA Fonn2483),thesmallbusiness(throughitsauthorizedrepresentative)wasrequiredtostate,
    amcmg otherthings,its:(a)averagemonthly payrollexpenses;and (b)numberofemployees.
    These figures w ere used to calculate the am ount of m oney the sm all business w as eligible to

    receive underthe PPP.

                  In addition, a business applying for a PPP loan was required to provide

    docum entation showing its payroll expenscs. This payroll inform ation was m atcrial to the

    application because,pursuantto statutoly requirem entsand im plem enting regulaticm s,the am ount
    of the loan that typically could be approved was a function ofthe applicant's historicalpayroll
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    costs,consisting of compensation to its em ployees whose principalplace of residence w as the

    UnitedStates,subjecttocertainexclusions.
           6.     lndividuals who operated a business under a Sûsole proprietorship'' business

    structure were eligible for a PPP loan. To qualify forsuch a PPP loan,individuals had to report

    and docum ent their incom e and expenses from the sole proprietorship. Sole proprietorships

    typically reporttheirincom e and expenses yearly to the lRS on a :T OI'I'
                                                                            IA 1040,Schedule C.'' A s

    w ith otherPPP loans,this infonnation and supporting docum entation w as used to calculate the

    am ountofm oney the individualwasentitled to receive underthe PPP. The m axim um PPP loan

    am ountfora soleproprietorwith no employeeswas$20,833.
                  PPP loan applicationswere processed by participating lendersand third-party loan

    processors. Ifa PPP loan application wasapproved,the participating lenderfunded the PPP loan

    using its own m onies,including by electronic transferthrough the A utom ated Clearing House

    system . W hile it w as the participating lender that issued the PPP loan,the loan w as 100%

    guaranteed by the SBA . Data from the application,including inform ation abouttheborrow er,the

    totalam ountofthe loan,and the listed num berofem ployees,w astransm itted by the lenderto the

    SBA in the course ofprocessing the loan.

                  After the lender funded the PPP loan to the borrow er, the lender subm itted

    disbursem entdetailsinto the SBA E-Tran system ,with serverslocated in Sterling,VA .The SBA 'S

    Denver Finance Center, located in Denver, Colorado, created paym ent files and authorized

    paym ents ofthe PPP processing fee to the lenderthrough the FinancialM anagem ent System to
    the Treasury.The prim ary serverfortheFinancialM anagem entSystem w asin Sterling,V A .The

    PPP processing fee varied dcpcnding on the am ountofthe loan. Once created,the paym enttiles

    were then transm itted via w ire to the U .S.Treasury disbursing office in K ansas City,M issouri,
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    w hich,in turn,sent instructions for paym ent of funds to the FederalReserve Bank Autom ated

    Clearing House processing site in EastRutherford,N ew Jersey.

           9.     The proceeds ofa PPP loan could be used only forcertain specified item s,such as

    payrollcosts,costsrelated to the continuation ofgroup health care benefits,orm ortgage interest

    paym ents for the business. The proceeds of a PPP loan were notperm itted to be used by the

    borrowerstopurchaseconsumergoods,automobiles,personalresidences,clothing,orjewelry,to
    pay the borrower's personalfederalincom e taxes,orto fund the borrower's ordinary day-to-day

    living expensesunrelated to the specified authorized expenses.

           10.    The PPP allow ed the interestand principalon the PPP loan to be entirely forgiven

    ifthe borrowerutilized 60% ofthe loan in the 24 weekspost-disbursem enttoward payrollcosts

    andutilizedtheremaining40% onqualifiedexpenseitems(e.g.,mortgage,rent,andutilities).
           11.    Applying forPPP loan forgivenesswasa separate process thatrequired additional

    affirm ationsthatthe applicantsatisfied the eligibility forPPP loan forgiveness. W hateverportion

    ofthePPP loan w asnotforgiven was serviced asa loan.

                      TheD efendants.Co-conspirator.and R elevantEntities

                  D efendant CAR O LY N D EN ISE W A DE was a resident of Brow ard County,

    Florida,and a Deputy Sherriffw ith the Broward Sheriff'sO ffice.

           13.    D efendantTR ACY D .W AD E was a residentofBroward County,Florida,and a

    D eputy Sheriffwith the Brow ard Sheriff'sOffice.

           14.     Co-conspirator Haydee Rivero, form erly know n as H aydee Granados, was a

    residentofBrow ard County,Florida.

                  Lender 1 wasaparticipating lenderin the PPP,and waslocated in California.




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                  Loan Processor 1 was a third-party loan processor that processed PPP loan

    applicationsforLender 1,am ong otherparticipating PPP lenders,and w aslocated in California.

                                             CO UN T 1
                                 Conspiracy to Com m itW ire Fraud
                                          (18U.S.C.j1349)
                  The GeneralA llegations section ofthis Superseding lndictm ent is re-alleged and

    incorporated by reference asthough fully setforth herein.

                  From in oraround M ay 202 1,through in oraround A ugust2021,the exactdates

    being unknow n to the Grand Jury,in Broward County,in the Southern D istrict ofFlorida,and

    elsewhere,the defendants,

                                  CA RO LYN DENISE W A DE and
                                        TR AC Y D.W AD E,

    did willfully,thatis,with the intentto furtherthe objects ofthe conspiracy,and knowingly
    com bine,conspire,confederate and agree w ith each other,and w ith H aydee Rivero,fIV a Haydee

    Granados,and others known and unknow n to the G rand Jury,to know ingly and w ith intentto

    defraud devise and intend to devise a schem e and artifice to defraud,and to obtain m oney and

    property by m eans of materially false and fraudulentpretenses,representations,and prom ises,

    know ing thatthe pretenses,representations,and prom isesw ere false and fraudulentwhen m ade,

    and,for the purpose of executing the schem e and artifice,know ingly transm it and cause to be

    transm itted,by m eans of w ire com munications in interstate com m erce,certain writings,signs,

    signals,pictures,and sounds,in violation ofTitle l8,U nited StatesCode,Section 1343.




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                                PUR PO SE OF TH E CO N SPIR ACY

           19.    Itwasthepurpose ofthe conspiracy forthe defendants and theirco-conspiratorsto

    unlawfullyenrichthemselvesby,amongotherthings:(a)makingfalsestatementstoobtainPPP
    loansandforgivenessofsuchPPP loansfrom theSBA anditslenders;(b)submittingandcausing
    the submission ofPPP loan applicationsthatcontained false and fraudulcntinformation;(c)
    causingthedisbursementoffalseand fraudulentPPP loans;and(d)submittingand causingthe
    submission ofPPP loanforgivenessapplicationsthatcontained falseandfraudulentinformation.

                        M AN NER AND M EA NS O F TH E C ON SPIR ACY

           The mylmer and means by which the defendants and their co-conspirators sought to

    accom plish the purpose ofthe conspiracy included,am ong otherthings,the follow ing:

                  H aydee Rivero,f/k/a Haydee Granados,prepared and created false and fictitious

    IRS Schedule C form sforinclusion w ith,and in supportof,PPP loan applicationsforCA RO LYN

    D EN ISE W ADE and TR ACY D .W AD E.

                  CAR O LY N D EN ISE W A DE and TM CY D .W A DE supplied login credentials,

    including one-tim e,short-lived passcodesto HaydeeR ivero,f/k/a Haydee Granados,forRivero to

    log in to Loan Processor 1's w ebsite and electronically access PPP loan applications for

    CAR OLYN DENISE W AD E and TR AC Y D.W A DE.

           22.     Haydee Rivero, f/k/a H aydee Granados,'inputted and transm itted through the

    internet,via Loan Processorl'swebsite,m aterially false infonnation forPPP loan applicationsfor

    CAR O LY N DENISE W A DE and TM CY D.W ADE.




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                    Haydee Rivero, f/k/a Haydee Granados, uploaded and transm itted through the

    internet,viaLoan Processor 1's website,m aterially false and fictitious1R S Schedule C form s for

    inclusion with,and in supportof,PPP loan applications for CAR OLYN D EN ISE W ADE and

    TM CY D.W A DE.

           24.      CA RO LYN D EN ISE W AD E and TR ACY D .W A DE subm itted and caused the

    subm ission ofPPP loan applicationsthatcontained m aterially false inform ation,including false

    and fictitioustax docum ents.
           25.      CA RO LYN DENISE W A DE and TR ACY D. W AD E caused the SBA and

    Lender 1 to approve and disburse PPP loan proceeds to them selves based upon m aterially false

    inform ation,including false and fictitiousIRS Schedule C form ssupplied by Haydee Rivero,f/k/a

    Haydee Granados.

                    CA R OLYN D EN ISE W ADE and TR ACY D .W A DE paid H aydee Rivero,îlkla

    H aydee Granados,and caused herto receive paym ent,forsupplying m aterially false inform ation,

    including false and fictitious 1RS Schedule C form s, in connection w ith their PPP loan

    applications.

           27.      CAR O LYN DENSE W A DE and TI
                                                R ACY D .W ADE used fraudulently obtained

    PPP loan proceeds for their personal use, including by w riting checks payable to them selves,

    directly and indirectly,forpurported EGsalary''and EEpayroll.''

           28.      CAR O LY N D EN ISE W A DE and TM C Y D .W AD E subm itled and caused the

    subm ission ofm aterially falseand fraudulentinform aticm to the SBA to attem ptto causeand cause

    the forgivenessoffraudulently obtained PPP loans.

           A llin violation ofTitle l8,United States Code,Section 1349.




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                                            CO UNTS 2-3
                                             W ireFraud
                                          (18U.S.C.j1343)
           29.    The GeneralA llegations section ofthis Superscding lndictm entis re-alleged and

    incorporated by reference asthough fully setforth herein.

           30.    From in oraround M ay 2021,through in or around August2021,the exactdates

    being unknow n to the Grand Jury,in Broward Countysin the Southern D istrict ofFlorida,and

    elsew here,the defendants,

                                  CA RO LYN D ENISE W A DE and
                                        TM C Y D.W A DE,

    did know ingly,and w ith the intentto defraud,devise,and intend to devise,a schem e and artifice

    to defraud, and to obtain m oney and property by m eans of m aterially false and fraudulent

    pretenses, representations, and prom ises, know ing that the pretenses, representations, and

    prom isesw erefalse and fraudulentwhen m ade,and,forthepurpose ofexecuting the schem e and

    artifice,did know ingly transm itand cause to be transm itted,by m eansofwire com m unication in

    interstate com m erce,certain writings,signs,signals,pictures,and sounds,in violation ofTitle l8,

    United States Code,Section 1343.

                          PURPO SE OF TH E SCH EM E A ND AR TIFICE

           31.    ltw asthepurpose oftheschem eand artificeforthedefendantsto unlaw fully enrich

    themselves by,among other things:(a) making false statements to obtain PPP loans and
    forgivenessofsuch PPP loansfrom the SBA and itslenders;(b)submitting and causing the
    submission ofPPP loan applicationsthatcontained false and fraudulentinformation;(c)causing
    thedisbursementoffalseandfraudulentPPPloans;and(d)submittingandcausingthesubmission
    ofPPP loan forgivenessapplicationsthatcontained false and fraudulentinform ation.




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                                   TH E SCH EM E A ND A RTIFICE

             32.   Paragraphs 20 through 28 ofthe M anner and M eans section of Count l of this

    Superseding lndictm ent are re-alleged and incorporated by reference as though fully set forth

    herein asa description ofthe schem e and artifice.

                                           USE O F W IRES

             33.   On oraboutthe dates and forthe defendants specified asto each countbelow ,for

    the purpose ofexecuting the aforesaid schem e and artifice to defraud,and to obtain m oney and

    property by m eans of m aterially false and fraudulentpretenses,representations,and prom ises,

    know ing thatthe pretenses,representations,and prom iseswere false and fraudulentw hen m ade,

    did knowingly transm it and cause to be transm itted in interstate com m erce,by m eans ofw ire

    com m unication,certain writings,signs,signals,pictures,and sounds,asdescribed below :

     CO UN T            DEFEND AN T             A PPRO M M ATE DESCR IPTIO N O F W IRE
                                                      DA TE
         1            TR ACY D .W AD E             June 3,2021 Disbursem ent of SBA loan
                                                               num ber 6261949003 from
                                                               Lender l in the approxim ate
                                                                    amount of $20,833 by
                                                                    A utom ated Clearing House
                                                                    (ACH) transfer to USAA
                                                                    Classic Checking account
                                                                    numberendin in 7309.
         2           CAR O LYN DENISE              June 7,2021      D isbursem ent of SBA loan
                           W AD E                                   number 6697269001 from
                                                                    Lender l in the approxim ate
                             and                                    amount of $20,833 by
                                                                    A utom ated Clearing House
                      TRACY D.W ADE                                 (ACH) transfer to USAA
                                                                    Classic Checking account
                                                                    num berendin in 3926.

             ln violation ofTitle 18,United StatesCode,Section 1343.




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                                             CO UN T 4
                           Conspiracy to M ake False Statem ents to the SBA
                                            (18U.S.C.j371)
            34.    The GeneralA llegations section ofthis Superseding lndictm cntis re-alleged and

     incorporated by reference as though fully setforth herein.

            35.    From in oraround M ay 2021,through in oraround August2021,the exactdates

     being unknown to the Grand Jury,in Brow ard County,in the Southern DistrictofFlorida,and

     elsewhere,the defendants,

                                   CAR O LY N DENISE W A DE and
                                         TM CY D .W AD E,

     did willfully,thatis,with the intentto furtherthe objects ofthe conspiracy,and knowingly
     com bine,conspire,confederate and agree with each other,and with H aydee Rivero,flkla Haydee

     Granados,and othersknow n and unknow n to the Grand July,to com m itcertain offensesagainst

     the United States,thatis,to m ake any statem entknow ing itto be false forthepurpose ofobtaining

     forherselforforany applicantany loan,orextension thereofby renew al,deferm entofaction,or

     forthe purpose ofinfluencing in any way the action ofthe Sm allBusinessA dm inistration,orfor

     thepurpose ofobtaining m oney,property,oranythingofvalue,underTitle 15,U nited StatesCode,

     Chapter14A,inviolationofTitle15,UnitedStatesCode,Section645(a).
                                  PURPO SE OF TH E CO N SPIR ACY

            36.    ltwasthepurpose ofthe conspiracy forthe defendants and theirco-conspiratorsto

     unlawfullyenrichthemselvesby,among otherthings:(a)makingfalsesltementstoobtainPPP
     loansandforgivenessofsuchPPP loansfrom theSBA and itslenders;(b)submittingand causing
     the submission ofPPP loan applicationsthatcontained false and fraudulentinformation;(c)
     causing the disbursementoffalse and fraudulentPPP loans;and (d)submitting and causingthe
     subm ission ofPPP loan forgivenessapplicationsthatcontained false and fraudulentinform ation.

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                         M ANN ER AND M EAN S O F TH F,C ON SPIM C Y

            37.    Paragraphs 20 through 28 of the M anner and M eans section of Count 1 of this

     Superseding lndictm ent are re-alleged and incorporated by reference as though fully set forth

    herein as the m anner and m eans by which the defendants and their co-conspirators sought to

     accom plish the purpose ofthe conspiracy.

                                            OV ERT A CTS

                   ln furtheranceoftheconspiracy andtoachievethepurposethereotlatleastoneof
     the co-conspiratorscom m itted and caused to be com m itted,in the Southern DistrictofFlorida,at

     leastone ofthe follow ing overtacts,am ong others:

            39.    On oraboutM ay 6,2021,H aydee Rivero,f/k/a Haydee Granados,uploaded and

     transm itted through the internet, via Loan Processor 1's w ebsite, a false and fictitious 1R S

     Schedule C form for inclusion w ith,and in supportof,a PPP loan application for TR ACY D .

     W ADE .

                   On oraboutM ay 13,202l,Haydee Rivero,f/k/a H aydee Granados,uploaded and

     transm itted through the internet, via Loan Processor 1's w ebsite, a false and tictitious lRS

     Schedule C fonn for inclusion with,and in supportof,a PPP loan application for CAR O LY N

     D EN ISE W ADE .

            41.    On or aboutM ay l8,2021,CAR OLYN D ENISE W ADE electronically initialed

     and signed an SBA Form 2483-C Paycheck Protection Program BorrowerApplication Form for

     Schedule C FilersU sing Grosslncom e,w hich falsely stated,am ong otherthings,thatthe Business

     LegalName wasçlcarolyn W ade''and thatthe TotalAm ountofGrossIncom e(from lRS Form
     1040,ScheduleC,Line7)wasEûl13,560.00.''
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                   OraboutM ay 19,2021,TI
                                        R ACY D .W AD E electronically initialed and signed an

     SBA Form 2483-C Paycheck Protection Program Borrower Application Form for Schedule C

     FilersU sing GrossIncom e,w hich falsely stated,am ongotherthings,thattheBusinessLegalNam e

     wastd-l-racyW ade''andthattheTotalAmountofGrosslncome(from lRS Form 1040,Schedule
     C,Line7)was$$112,430.00.'5
                   OraboutM ay 27,2021,TR ACY D.W A DE electrtm ically initialed and signed an

     SBA Form 2483-C Paycheck Protection Program Borrow er Application Form for Schedule C

     FilersU sing Grosslncom e,which falsely sà ted,am ong otherthings,thatthe BusinessLegalN am e

     wasEi-l-racy W ade''andthattheTotalAmountofGrosslncome(from lRSForm 1040,Schedule
     C,Line7)was((112,430.00.'5
                   On or aboutM ay 28,2021,CAR OLYN DENISE W ADE electronically initialed

     and signed an SBA Form 2483-C Paycheck Protection Program Borrow erApplication Form for

     ScheduleC FilersUsing Grosslncom e,w hich falsely stated,am ong otherthings,thattheBusiness

     LegalNamewasûûcarolyn W ade''and thatthe TotalAmountofGrosslncom e(from IRS Form
     1040,ScheduleC,Line7)wasE:l13,560.00.'5
                   On oraboutA ugust7,2021,CA RO LYN DENISE W AD E electronically initialed

     and signed an SBA PPP Loan ForgivenessA pplication Form 35085,w hich falsely stated,am ong

     otherthings,thatthe BusinessLegalN am e was tûcarolyn W ade,''thatthe Em ployees atTim e of

     Loan A pplication was Cç3,''thatthe EmployeesatTim e ofForgivenessA pplication was 6$3,''and

     thattheAm ountofLoan Spenton PayrollCostswas:6$20,833.00.''
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            46.    O n oraboutA ugust7,2021,TI
                                             R ACY D.W ADE electronically initialed and signed

     an SBA PPP Loan ForgivenessApplication Form 35085,w hich falsely stated,am ong otherthings,

    thattheBusinessLegalN am ew asti-rracy W ade,''thatthe Em ployeesatTim e ofLoan Application

    w asGûl0,''thatthe Em ployees atTim e ofForgivenessApplication w as4:10,''and thattheA m ount

     ofLoan SpentonPayrollCostswas1:$20,833.00,''
            A llin violation ofTitle 18,United StatesCode,Section 371.

                                              CO UNT 5
                                     False Statem entto the SBA
                                          (15U.S.C.j645(a))
                   The GeneralA llegations section ofthis Superseding lndictm entis re-alleged and

     incorporated by reference asthough fully setforth herein.

            48.    On oraboutM ay l8,2021,in Broward County,in the Southern D istrictofFlorida,

     and elsewhere,the defendant,

                                    CA R O LY N DE NISE W A DE ,

     did knowingly m ake a false statem ent to the Sm allBusiness A dm inistration forthe purpose of

     obtaining m oney and intluencing in any w ay the Sm allBusinessA dm inistration,thatis,an SBA

     Form 2483-C Paycheck Protection Program Borrow erA pplication Form for Schedule C Filers

     U sing Grosslncom e,w hich false statem entincluded,am ong otherthings,thatthe BusinessLegal

     Name wasttcarolyn W ade''and thatthe TotalAmountofGrossIncome (from 1RS Form 1040,
     ScheduleC,Line7)was(;l13,560.00,''inviolationofTitle15,UnitedStatesCode,Section645(a),
     and Title 18,U nited StatesCode,Section 2.
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                                                  CO U NT 6
                                         False Statem entto the SBA
                                             (15 U.S.C.j 645(a))
               49.     The GeneralA llegations section ofthis Superseding lndictm ent is re-alleged and

        incorporated by reference asthough fully setforth herein.
                50.    On oraboutM ay l9,2021,in Brow ard County,in the Southern D istrictofFlorida,

        and elsew here,the defendant,

                                             TR ACY D .W AD E ,

        did know ingly m ake a false statem entto the Sm allBusiness Adm inistration forthe purpose of

        obtaining m oney and influencing in any way the Sm allBusinessA dm inistration,thatis,an SBA

        Form 2483-C Paycheck Protection Program Borrower Application Form for Schedule C Filers

        U sing Grosslncom e,w hich false statem entincluded,among otherthings,thatthe BusinessLegal

        Name wasEir
                  fracy W ade''and thatthe TotalAmountof Grosslncome (from 1RS Form 1040,
         ScheduleC,Line7)was$;112,430.00,''inviolationofTitlel5,UnitedStatesCode,Section645(a)
        and,Title 18,United States Code,Section 2.

                                                  CO UNT 7
                                         False Statem entto the SBA
                                              (15U.S.C.j645(a))
                       The GeneralAllegations section ofthis Superseding lndictm entis re-alleged and

         incorporated by reference asthough fully setforth herein.

                52.    On oraboutM ay 27,2021,in Brow ard County,in the Southern D istrictofFlorida,

         and elsew here,the defendant,

                                             TR ACY D .W A D E,

         did know ingly m ake a false statem entto the Sm allBusinessA dm inistration for the purpose of

         obtaining m oney and influencing in any w ay the SmallBusinessA dm inistration,thatis,an SBA




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    Form 2483-C Paycheck Protection Program Borrow er Application Form for Schedule C Filers

    U sing Grosslncom e,w hich false statem entincluded,am ong otherthings,thatthe BusinessLegal

    NamewasEû-
             fracy Wade''and thatthe TotalAmountofGrosslncome(from 1RS Form 1040,
     ScheduleC,Line7)wasûC112,430.00,''inviolationofTitle15,UnitedStatesCode,Section6454$
    and,Title 18,U nited States Code,Section 2.

                                              CO UNT 8
                                     False Statem entto the SBA
                                         (15U.S.C.j645(a))
            53.    The GeneralA llegations section ofthis Superseding lndictm ent is rc-alleged and

     incorporated by reference asthough fully setforth herein.

            54.    On oraboutM ay 28,2021,in Brow ard County,in the Southern DistrictofFlorida,

     and elsewhere,the defendant,

                                    C AR O LYN D EN ISE W A D E,

     did know ingly m ake a false statementto the Sm allBusiness A dm inistration forthe purpose of

     obtaining m oney and influencing in any w ay the Sm allBusinessAdm inistration,thatis,an SBA

     Form 2483-C Paycheck Protection Program Borrow er Application Form for Schedule C Filers

     Using Grosslncom e,which false statem entincluded,am ong otherthings,thattheBusinessLegal

    NamewastûcarolynW ade''andthattheTotalAmountofGrosslncome(from IRSForm 1040,
     ScheduleC,Line7)wasûC113,560.00,''inviolationofTitlel5,UnitedStatesCode,Section645(a,
                                                                                         )
     and,Title 18,United StatesCode,Section 2.
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                                               CO UNT 9
                                      False Statem entto the SBA
                                          (15U.S.C.j645(a))
            55.    The GeneralA llegations section ofthis Superseding lndictm entis re-alleged and

     incorporated by reference asthough fully setforth herein.

            56.    On OraboutA ugust7,2021,in Broward County,in the Southern D istrictofFlorida,

     and elsewhere,the defendant,

                                     C AR O LYN D EN ISE W A D E,

     did knowingly m ake a false statem entto the Sm allBusiness Adm inistration forthe purpose of

     obtaining m oney and intluencing in any w ay the Sm allBusinessA dm inistration,thatis,an SBA

     PPP Loan Forgiveness Application Form 35085,which false statem ent included,am ong other

     things,thatthe BusinessLegalN am e wastEcarolyn W ade,''thatthe Em ployeesatTim e ofLoan

     Application wastC3,''thattheEm ployeesatTim eofForgivenessA pplication was;ç3,''and thatthe

     AmountofLoan SpentonPayrollCostswas11$20,833.00,''in violationofTitle 15,United States

     Code,Section 645(a)and,Title 18,United StatesCode,Section 2.
                                              CO UNT 10
                                      False Statem entto the SBA
                                          (15U.S.C.j645(a))
            57.    The GeneralA llegations section of this Superseding lndictm entis re-alleged and

     incorporated by reference asthough fully setforth herein.

            58.    On oraboutAugust7,2021,in Brow ard County,in the Southern DistrictofFlorida,

     and elsew here,the defendant,

                                         TM CY D .W A DE ,

     did know ingly m ake a false statem entto the Sm allBusinessA dm inistration for the purpose of

     obtaining m oney and influencing in any w ay the Sm allBusinessA dm inistration,thatis,an SBA


                                                   16
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     PPP Loan Forgiveness Application Fonn 35085,w hich false statem entincluded,am ong others

     things,thatthe Business LegalN am e was Ed-rracy W ade,''thatthe Employees atTim e of Loan

     Application w as Cd10 ''thatthe Em ployeesatTim e ofForgivenessApplication w as C$10,''and that

     the AmountofLoan Spenton PayrollCostswas(6$20,833.00,'5in violation ofTitle l5,United

     StatesCode,Section645/)and,Title18,UnitedStatesCode,Section2.
                                     FO RFEITUR E AIaLEG ATIO N S

                    The allegations of this Superseding lndictm entare hereby re-alleged and by this

     reference fully incorporated herein forthe purpose of alleging forfeiture to the U nited States of

     Am ericaofcertain property in w hich thedefendants,CAR OLYN D EN ISE W AD E and TR ACY

     D.W AD E,have an interest.

            2.      Upon conviction ofaviolation of,ora conspiracy to violate,Title l8,U nited States

     Codc,Section 1343,as alleged in this Superseding lndictm ent,the defendant shallforfeitto the

     United States any property, real or personal,which constitutes or is derived from proceeds

     traceabletosuchoffense,pursuanttoTitle18,United StatesCode,Section981(a)(l)(C).
            AllpursuanttoTitle 18,UnitedStatesCode,Section981(a)(1)(C)andtheproceduresset
     forth in Title2l,United StatesCode,Section 853,asincorporated by Title28,U nited StatesCode,

     Section2461(c).




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     DA#ID A .SNIDER
        ,

     AjSISTANT IJXITED STATESATTORNEY
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                                    UNITED STA TE S D ISTR IC T CO U RT
                                    SO UTH ER N DISTRICT OF FLO RIDA

UNITED STATESOFAM ERICA                                   CASE No.:23-60173-CR-KMW (s)

CARO LYN D ENISE W A DE and                               CER TIFICATE O F TR IAL A TTO RNEY
TRA CY D.W ADE,
                                              /
                Defendants.                               superseding Case Inform ation:
CourtDivision(selectone)                                  New Defendantts)(YesorNo)Yes
                                                          N um berofN ew D efendants 1
   D M iami n KeyW est               L FTP                Totalnum berofnew counts 10
   S FTL        D W PB
Ido hereby certify that:
  1. lhave carefully considered the allegations ofthe indictment,the numberofdefendants,the numberofprobable
       witnessesand the legalcomplexitiesofthe lndictment/lnformation attached hereto.
       Iam aware thattheinformation supplied onthisstatementwillberelied upon by theJudgesofthisCourtin setting
       theircalendarsandschedulingcriminaltrialsunderthemandateoftheSpeedyTrialAct,Title28U.S.C.j3l61.
       Interpreter:(YesorNo)No
       Listlanguageand/ordialect:
       Thiscasewilltake 6      daysforthepartiesto tly.

       Please check appropriate category and type ofoffense listed below :
       (Checkonlyone)                        (Checkonlyone)
       I n 0 to 5days                     n Petty
       11 ? 6to 10 days                   D M inor
       1II D 11to 20 days                 D M isdemeanor
       lv D 21to 60 days                  Z Felony
       v r 61daysandover
       Hasthiscasebeenpreviously filedinthisDistrictCourt?(YesorNo) No
       lfyes,Judge                                  CaseN o.
       Hasacomplaintbeen sledinthismatter?(YesorNo)No
       lfyes,M agistrate Case No.
       DoesthiscaserelatetoapreviouslyfiledmatterinthisDistrictCourt?(Y'esorNo)No
       lfyes,Judge                                  CaseN o.
  9. Defendantts)infederalcustodyasofN/A
  l0. Defendantts)instatecustodyasof N/A
  l1. Rule20 from the                 D istrictof
  12. lsthisapotentialdeathpenaltycase?(YesorNo)No
  13. Does thiscase originate from a m atterpending in the Northern Region ofthe U .S.A ttorney'sOffice
       priortoAugust8,2014(Mag.JudgeShaniekM aynard?(YesorNo)No
  14. D oesthiscase originate from a m atterpending in the CentralRegion ofthe U .S.Attonzey's Oftk e prior
       toOctober3,2019(M ag.JudgeJaredStrauss?(YesorNo)No
      Did this m atter involve the participation of or consultation w ith M agistrate Judge Eduardo 1.Sanchez
      during histenureatthe U.S.Attorney'sO ffice,which concluded on January 22,20232 N o
  l6. Did this m atter involve the participation of or çonsultation w ith now M agistrate Judge M arta Fulgueira
      Elfenbein during hertentlreatthe U .S.Attorney'sO ffice,which co cluded on M arch 5,2024? N O

                                                    B yx:-
                                                         .                                        $   '
                                                                                                      e'
                                                      (       DAVI A.SNl
                                                              A ssist ntU nited StatesA ttorney
                                                              CourtID N o.        A 5502260
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                              U NITED STATES DISTRICT CO UR T
                              SOU TH ERN D ISTR IC T O F FLO RIDA

                                         PEN ALTY SH EET

    D efendant'sNam e;       CAROLYN D ENISE W A DE

    CaseNo:23-60l73-CR-KM W (s1

    Count#:1

    Conspiracy to Com m itW ire Fraud

    Title 18.United StatesCode,Section 1349

     * M ax.Term oflm prisonm ent:20 Y ears
     * M ax.Supervised R elease:3 years
     *M ax.Fine:$250,000

     Count#:3

     W ire Fraud

     Title 18.U nited StatesCode.Section 1343

     * M ax.Term oflm prisonm ent:20 Y ears
     * M ax.Supervised R elease:3 years
     *M ax.Fine:$250,000
     Count#:4

     Conspiracy to M ake False Statem entsto SBA

     Title l8.United StatesCodesSection 371

     * M ax.Term ofIm prisonm ent:5 Y ears
     * M ax.Supervised R elease:3 years
     *M ax.Fine:$250,000




                                                                    Revised 5/16/2022
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    Counts#:5,8,9

    False Statem entto SBA
      1

    Title l5-United StatesCodesSection 6454a)

     * M ax.Term oflm prisonm ent:2 Years
     * M ax.Supervised R elease: 1year
     *M ax.Fine:$5,000                                                               -           --




    WRefersonly to possibleterm ofincarceration,supervised release and fines.Itdoesnotinclude restitution,
    specialassessm ents,paroleterm s,orforfeituresthatm ay be applicable.




                                                                                            Revised 5/16/2022
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                              UNITED STA TES D ISTRICT CO U RT
                              SO UTH ER N DISTRICT OF FLO RIDA

                                         PENA LTY SH EET

    Defendant's Nam e:       TR ACY D .W AD E

    CaseNo:23-60173-CR-KM W (s)

    C ount#:1

     Conspiracy to Com m itW ire Fraud

    Title 18.U nited StatesCode,Section 1349

     * M ax.Term oflm prisonm ent:20 Y ears
     * M ax.Supervised R elease:3 years
     *M ax.Fine:$250,000

     Count#:2,3

     W ire Fraud

     Title 18.United StatesCode.Section 1343

     * M ax.Term oflm prisonm ent:20 Years
     * M ax.Supervised Release:3 years
     *M ax.Fine:$250,000
     Count#:4

     Conspiracv to M ake False Statem entsto SBA

     Title 18.United StatesCode,Section 371

     * M ax.Term ofIm prisonm ent:5 Years
     * M ax.Supervised Release:3 years
     *M ax.Fine:$250,000




                                                                 Revised 5/16/2022
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    Counts #:6,7,10

    False Statem entto SBA

    Title 15sUnited StatesCode.Section 645(:0

    * M ax.Term ofIm prisonm ent:2 Y ears
    * M ax.Supervised Release:1year
    *M ax.Fine:$5,000


    WRefersonly to possibleterm ofincarceration,supervised releaseand fines.ltdoesnotinclude restitution,
    specialassessm ents,paroleterm s,or forfeituresthatm ay beapplicable.




                                                                                           Revised 5/16/2022
